       Case 2:22-cr-00374-DSF Document 1 Filed 08/16/22 Page 1 of 6 Page ID #:1



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 8                           UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                               June 2022 Grand Jury

11   UNITED STATES OF AMERICA,                CR No. 2:22-cr-00374-DSF

12             Plaintiff,                     I N D I C T M E N T

13                   v.                       [18 U.S.C. § 922(g)(1):
                                              Felon in Possession of Firearms
14   SEAN SCHOEPFLIN                          and Ammunition; 18 U.S.C.
       aka “Sean Fitzgerald,”                 § 924(d)(1) and 28 U.S.C. §
15     aka “Sean Schoepflin II,”              2461(c): Criminal Forfeiture]
16             Defendant.

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18        The Grand Jury charges:
19                              [18 U.S.C. § 922(g)(1)]
20        On or about March 18, 2022, in Los Angeles County, within the
21   Central District of California, defendant SEAN SCHOEPFLIN, also known
22   as “Sean Fitgerzald” and “Sean Schoepflin II,” knowingly possessed
23   the following firearms and ammunition, in and affecting interstate
24   and foreign commerce:
25        1.    a Sig Sauer model P320, 9mm caliber pistol, bearing serial
26   number 58J111339;
27        2.    a Sig Sauer model P320, 9mm caliber pistol, bearing serial
28   number 58J050374;
       Case 2:22-cr-00374-DSF Document 1 Filed 08/16/22 Page 2 of 6 Page ID #:2



 1        3.    a Sig Sauer model P320, 9mm caliber pistol, bearing serial

 2   number 58J050318;

 3        4.    a Sig Sauer model P320, 9mm caliber pistol, bearing serial

 4   number 58J181919;

 5        5.    a Sig Sauer model P328, .380 caliber pistol, bearing serial

 6   number 27B268698;

 7        6.    a Herbert Schmidt model 21S, .22 caliber revolver bearing

 8   serial number 522262;

 9        7.    a Sig Sauer model Cross, 6.5mm Creedmor caliber rifle,

10   bearing serial number 70A007276;

11        8.    a Sig Sauer model M400, 5.56mm caliber rifle bearing serial

12   number 20L071513;

13        9.    a Sig Sauer model M400, 5.56mm caliber rifle bearing serial

14   number 20L071227;

15        10.   7 rounds of Federal Cartridge Company .380 Automatic

16   caliber ammunition stamped “FEDERAL”;

17        11.   100 rounds of Campanhia Brasileira de Cartuchos.380

18   Automatic caliber ammunition stamped “CBC”;

19        12.   432 rounds of 9mm Luger caliber ammunition stamped “SIG”;

20        13.   219 rounds of CCI/Speer 9mm Luger caliber ammunition

21   stamped “SPEER”;

22        14.   266 rounds of Campanhia Brasileira de Cartuchos 9mm Luger

23   caliber ammunition stamped “CBC”;

24        15.   38 rounds of 9mm Luger caliber ammunition with head stamp

25   “F C”;

26        16.   6 rounds of 9mm Luger caliber ammunition stamped “R-P”;

27        17.   8 rounds of Remington Arms Company 9mm Luger caliber

28   Poongsan Corporation ammunition stamped “PMC”;
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       Case 2:22-cr-00374-DSF Document 1 Filed 08/16/22 Page 3 of 6 Page ID #:3



 1           18.   17 rounds of Sellier & Bellot 9mm Luger caliber ammunition

 2   stamped “S&B”;

 3           19.   2 rounds of CCI/Speed 9mm Luger caliber ammunition stamped

 4   “BLAZER”;

 5           20.   3 rounds of Fiocchi 9mm Luger caliber ammunition stamped

 6   “G.F.L.”;

 7           21.   1 round of 9mm Luger caliber ammunition stamped “RWS”;

 8           22.   9 rounds of Winchester 9mm Luger caliber ammunition stamped

 9   “WCC”;

10           23.   14 rounds of Winchester 9mm Luger caliber ammunition

11   stamped “WIN”;

12           24.   1 round of 9mm Luger caliber ammunition stamped “FIOCCHI

13   USA”;

14           25.   100 rounds of Tula Cartridge Works 9mm Luger caliber

15   ammunition stamped “Tulammo”;

16           26.   20 rounds of Arms Corporation 9mm Luger caliber ammunition

17   stamped “A USA”;

18           27.   95 rounds of Hornady Manufacturing Company 6.5mm Creedmore

19   caliber ammunition stamped “HORNADY”;

20           28.   655 rounds of Lake City Army Ammunition 5.56mm caliber

21   ammunition stamped “L C”;

22           29.   1,640 rounds of Lake City Army Ammunition Plant 5.56mm

23   caliber ammunition stamped “L C.”

24           Defendant SCHOEPFLIN possessed such firearms and ammunition

25   knowing that he had previously been convicted of at least one of the

26   following crimes punishable by imprisonment for a term exceeding one

27   year:

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       Case 2:22-cr-00374-DSF Document 1 Filed 08/16/22 Page 4 of 6 Page ID #:4



 1        1.    Tampering with a Witness, in violation of Florida Statute

 2   Section 914.22(1), in the Sixth Judicial Circuit Court of Florida,

 3   County of Pasco, case number CRC9900699CFAWS, on or about November

 4   23, 1998 and June 1, 1999;

 5        2.    Possession of Cocaine, in violation of Florida Statute

 6   Section 893.13, in the Sixth Judicial Circuit Court of Florida,

 7   County of Pasco, case number CRC9803036CFAWS, on or about November

 8   23, 1998 and June 1, 1999;

 9        3.    Burglary, in violation of Florida Statute Section

10   810.02(4)(A), in the Sixth Judicial Circuit Court of Florida, County

11   of Pasco, case number CRC9801823CFAWS, on or about November 23, 1998

12   and June 1, 1999;

13        4.    Burglary, in violation of Florida Statute Section

14   810.02(4)(B), in the Sixth Judicial Circuit Court of Florida, County

15   of Pasco, case number CRC9801715CFAWS, on or about November 23, 1998

16   and June 1, 1999;

17        5.    Burglary, in violation of Florida Statute Section 810.02,

18   and Grand Theft, in violation of Florida Statute Section

19   812.014(2)(C)(1), in the Sixth Judicial Circuit Court of Florida,

20   County of Pasco, case number CRC9801684CFAWS, on or about November

21   23, 1998 and June 1, 1999; and

22        6.    Burglary, in violation of Florida Statute Section

23   810.02(4)(A), in the Sixth Judicial Circuit Court of Florida, County

24   of Pasco, case number CRC9801443CFAWS, on or about November 23, 1998

25   and June 1, 1999.

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          Case 2:22-cr-00374-DSF Document 1 Filed 08/16/22 Page 5 of 6 Page ID #:5



 1                                  FORFEITURE ALLEGATION

 2                  [18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c)]

 3           1.    Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Section 924(d)(1) and Title 28, United States

 7   Code, Section 2461(c), in the event of defendant’s conviction on the

 8   offense set forth in this Indictment.

 9           2.    If so convicted, defendant shall forfeit to the United

10   States of America the following:

11                 (a)   All right, title, and interest in any firearm or

12   ammunition involved in or used in such offense.

13                 (b)   To the extent such property is not available for

14   forfeiture, a sum of money equal to the total value of the property

15   described in subparagraph (a).

16           3.    Pursuant to Title 21, United States Code, Section 853(p),

17   as incorporated by Title 28, United States Code, Section 2461(c),

18   defendant, if so convicted, shall forfeit substitute property, up to

19   the value of the property described in the preceding paragraph if, as

20   the result of any act or omission of defendant, the property

21   described in the preceding paragraph or any portion thereof

22   (a) cannot be located upon the exercise of due diligence; (b) has

23   been transferred, sold to, or deposited with a third party; (c) has

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       Case 2:22-cr-00374-DSF Document 1 Filed 08/16/22 Page 6 of 6 Page ID #:6



 1   been placed beyond the jurisdiction of the court; (d) has been

 2   substantially diminished in value; or (e) has been commingled with

 3   other property that cannot be divided without difficulty.

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 5                                               A TRUE BILL
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 7
                                                 Foreperson
 8

 9   STEPHANIE S. CHRISTENSEN
     Acting United States Attorney
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12   CHRISTOPHER D. GRIGG
     Assistant United States Attorney
13   Chief, National Security Division
14   SOLOMON KIM
     Assistant United States Attorney
15   Terrorism and Export Crimes
     Section
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